                   Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 1 of 9 PageID #:440
                                                                                                         CLOSED,PMA
                                   U.S. District Court [LIVE]
                             Western District of Texas (San Antonio)
                         CIVIL DOCKET FOR CASE #: 5:14−mc−00942−XR

Elliott et al v. Mission Trust Services, LLC et al                       Date Filed: 10/24/2014
Assigned to: Judge Xavier Rodriguez                                      Date Terminated: 12/01/2014
Case in other court: USDC Northern District of Illinois, Chicago Div.,   Nature of Suit: 320 Assault Libel &Slander
                       1:13−cv−07770                                     Jurisdiction: Federal Question
Cause: Motion to Quash
Plaintiff
Scott A. Elliott                                          represented by John H. Scheid
                                                                         Murphy &Hourihane LLC
                                                                         161 N. Clark St., Suite 2550
                                                                         Chicago, IL 60601
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

Plaintiff
Ming−Hang Ho                                              represented by John H. Scheid
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

Plaintiff
The Roxana H. Cupples Revocable Inter                     represented by John H. Scheid
Vivos Trust                                                              (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED


V.
Defendant
Mission Trust Services, LLC                               represented by Courtney R. Baron
                                                                         Goldberg Kohn Ltd.
                                                                         55 E. Monroe St., Suite 3300
                                                                         Chicago, IL 60603
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Douglas R. Kay
                                                                         Offit Kurman PC
                                                                         8000 Tower Crescent Drive, Suite 1450
                                                                         Tysons Corner, VA 22182
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         James Dominick Adducci
                                                                         Adducci, Dorf, Lehner, Mitchell &Blankenship,
Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 2 of 9 PageID #:441
                                            P.C.
                                            150 North Michigan Avenue, Suite 2130
                                            Chicago, IL 60601
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            James R. Old
                                            Jay Old &Associates
                                            3560 Delaware, Suite 308
                                            Beaumont, TX 77706
                                            (409) 241−7252
                                            Fax: (409) 419−1733
                                            Email: jay.old@jroldlaw.com
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            Kenneth Steven Ulrich
                                            Goldberg Kohn Ltd.
                                            Mid−Continental Plaza
                                            55 East Monroe St., Suite 3300
                                            Chicago, IL 60603
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            Marshall Lee Blankenship
                                            Adducci, Dorf, Lehner, Mitchell &Blankenship,
                                            P.C.
                                            150 North Michigan Avenue, Suite 2130
                                            Chicago, IL 60601
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            R.J. Cronkhite
                                            Tishkoff &Associates PLLC
                                            407 North Main Street
                                            Ann Arbor, MI 48104
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            Sarah L. Wixson
                                            Tishkoff &Associates PLLC
                                            407 North Main Street
                                            Ann Arbor, MI 48104
                                            734−663−4077
                                            Fax: 734−665−1613
                                            Email: sarah@tishlaw.com
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            William G. Tishkoff
                                            Tishkoff &Associates PLLC
                                            407 North Main Street
                                            Ann Arbor, MI 48104
                                            734−663−4077
                                            Fax: 734−665−1613
                Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 3 of 9 PageID #:442
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

Defendant
Christopher C. Finlay                           represented by Courtney R. Baron
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Douglas R. Kay
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               James Dominick Adducci
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               James R. Old
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Kenneth Steven Ulrich
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Marshall Lee Blankenship
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               R.J. Cronkhite
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Sarah L. Wixson
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               William G. Tishkoff
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

Defendant
The Corporation Trust Company                   represented by Courtney R. Baron
                                                               (See above for address)
                                                               LEAD ATTORNEY
               Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 4 of 9 PageID #:443
                                                            ATTORNEY TO BE NOTICED

                                                            Douglas R. Kay
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            James Dominick Adducci
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kenneth Steven Ulrich
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Marshall Lee Blankenship
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            R.J. Cronkhite
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Sarah L. Wixson
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            William G. Tishkoff
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Defendant
Michael T. Hosmer                              represented by Courtney R. Baron
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                            Douglas R. Kay
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            James Dominick Adducci
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kenneth Steven Ulrich
                    Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 5 of 9 PageID #:444
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Marshall Lee Blankenship
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 R.J. Cronkhite
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Sarah L. Wixson
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 William G. Tishkoff
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Counter Plaintiff
Mission Trust Services, LLC                         represented by Courtney R. Baron
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                 Douglas R. Kay
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 James Dominick Adducci
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 James R. Old
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Kenneth Steven Ulrich
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Marshall Lee Blankenship
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                   Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 6 of 9 PageID #:445

                                                                 R.J. Cronkhite
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Sarah L. Wixson
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 William G. Tishkoff
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED


V.
Counter Defendant
Scott A. Elliott                                   represented by John H. Scheid
                                                                  (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

Counter Defendant
Ming−Hang Ho                                       represented by John H. Scheid
                                                                  (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

Counter Defendant
The Roxana H. Cupples Revocable Inter              represented by John H. Scheid
Vivos Trust                                                       (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

Movant
Hugh L. Caraway, Jr.                               represented by Michael William O'Donnell
                                                                  Fulbright &Jaworski, L.L.P.
                                                                  300 Convent Street
                                                                  Suite 2100
                                                                  San Antonio, TX 78205
                                                                  (210) 224−5575
                                                                  Fax: 210/270−7205
                                                                  Email: mike.odonnell@nortonrosefulbright.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

Movant
Internacional Realty Inc.                          represented by Michael William O'Donnell
                                                                  (See above for address)
             Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 7 of 9 PageID #:446
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED


Date Filed     #    Docket Text

10/24/2014     Ï    THIS CASE HAS BEEN RANDOMLY ASSIGNED TO JUDGE XAVIER RODRIGUEZ. (dtg)
                    (Entered: 10/28/2014)

10/24/2014     Ï    If ordered by the court, all referrals will be assigned to Magistrate Judge Mathy. (dtg) (Entered:
                    10/28/2014)

10/24/2014    Ï1    MOTION to Quash Subpoenas and Motion for Protective Order by Hugh L. Caraway, Jr,
                    Internacional Realty Inc. (Attachments: # 1 Exhibits to Motion to Quash Subpoenas and Motion
                    for Protective Order, # 2 Civil Cover Sheet, # 3 Filing Fee Receipt)(dtg) (Entered: 10/28/2014)

10/24/2014     Ï    MOTION for Protective Order (Motion is included within Docket Entry #1) by Hugh L. Caraway,
                    Jr., Internacional Realty Inc. (dtg) (Entered: 10/28/2014)

10/28/2014    Ï2    ORDER − Non−Party Hugh L. Caraway is therefore directed to inform the Court whether he
                    consents to transfer of the motion to the Eastern Division of the Northern District of Illinois.
                    Signed by Judge Xavier Rodriguez. (rg) Modified on 10/30/2014 (wg). (Entered: 10/28/2014)

10/29/2014    Ï3    Letter to attorney JOHN H. SCHEID regarding Admission to Practice in the Western District of
                    Texas. (dtg) (Entered: 10/29/2014)

10/29/2014    Ï4    Letter to attorney COURTNEY R. BARON regarding Admission to Practice in the Western
                    District of Texas. (dtg) (Entered: 10/29/2014)

10/29/2014    Ï5    Letter to attorney DOUGLAS R. KAY regarding Admission to Practice in the Western District of
                    Texas. (dtg) (Entered: 10/29/2014)

10/29/2014    Ï6    Letter to attorney JAMES DOMINICK ADDUCCI regarding Admission to Practice in the
                    Western District of Texas. (dtg) (Entered: 10/29/2014)

10/29/2014    Ï7    Letter to attorney KENNETH STEVEN ULRICH regarding Admission to Practice in the Western
                    District of Texas. (dtg) (Entered: 10/29/2014)

10/29/2014    Ï8    Letter to attorney MARSHALL LEE BLANKENSHIP regarding Admission to Practice in the
                    Western District of Texas. (dtg) (Entered: 10/29/2014)

10/29/2014    Ï9    Letter to attorney R.J. CRONKHITE regarding Admission to Practice in the Western District of
                    Texas. (dtg) (Entered: 10/29/2014)

10/29/2014   Ï 10   Letter to attorney SARAH L. WIXSON regarding Admission to Practice in the Western District
                    of Texas. (dtg) (Entered: 10/29/2014)

10/29/2014   Ï 11   Letter to attorney WILLIAM G. TISHKOFF regarding Admission to Practice in the Western
                    District of Texas. (dtg) (Entered: 10/29/2014)

10/29/2014   Ï 12   NOTICE of Non−Consent to Transfer by Hugh L. Caraway, Jr, Internacional Realty Inc.
                    (O'Donnell, Michael) (Entered: 10/29/2014)

10/30/2014     Ï    Text Order REFERRING 1 Motion to Quash entered by Judge Xavier Rodriguez. This motion is
                    referred to Magistrate Judge Mathy pursuant to Rule 72. (This is a text−only entry generated by
                    the court. There is no document associated with this entry.) (lel) (Entered: 10/30/2014)

10/30/2014     Ï    Text Order REFERRING Motion for Protective Order entered by Judge Xavier Rodriguez. This
                    motion is referred to Magistrate Judge Mathy pursuant to Rule 72. (This is a text−only entry
             Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 8 of 9 PageID #:447
                    generated by the court. There is no document associated with this entry.) (lel) (Entered:
                    10/30/2014)

10/30/2014     Ï    MOTION REFERRED: referred 1 MOTION to Quash. Referral Judge: Pamela A. Mathy. (rg)
                    (Entered: 10/30/2014)

10/30/2014     Ï    MOTION REFERRED: referred MOTION for Protective Order. Referral Judge: Pamela A.
                    Mathy. (rg) (Entered: 10/30/2014)

10/31/2014   Ï 13   Response in Opposition to Motion, filed by Christopher C. Finlay, Mission Trust Services, LLC,
                    re MOTION for Protective Order filed by Movant Hugh L. Caraway, Jr., Movant Internacional
                    Realty Inc., 1 MOTION to Quash filed by Movant Hugh L. Caraway, Jr., Movant Internacional
                    Realty Inc. (Attachments: # 1 Proposed Order Proposed Order Denying, # 2 Exhibit Exhibit A, #
                    3 Exhibit Exhibit B, # 4 Exhibit Exhibit C, # 5 Exhibit Exhibit D, # 6 Exhibit Exhibit E, # 7
                    Exhibit Exhibit F, # 8 Exhibit Exhibit G, # 9 Exhibit Exhibit H, # 10 Exhibit Exhibit I, # 11
                    Exhibit Exhibit J, # 12 Exhibit Exhibit K)(Old, James) (Entered: 10/31/2014)

10/31/2014   Ï 14   MOTION to Transfer Case by Christopher C. Finlay, Mission Trust Services, LLC. (Attachments:
                    # 1 Proposed Order, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7
                    Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13
                    Exhibit L, # 14 Exhibit M)(Old, James) (Entered: 10/31/2014)

11/07/2014   Ï 15   REPLY to Response to Motion, filed by Hugh L. Caraway, Jr, Internacional Realty Inc., re
                    MOTION for Protective Order filed by Movant Hugh L. Caraway, Jr., Movant Internacional
                    Realty Inc., 1 MOTION to Quash filed by Movant Hugh L. Caraway, Jr., Movant Internacional
                    Realty Inc. (Attachments: # 1 Affidavit of Lauren Valkenaar, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                    Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6)(O'Donnell, Michael) (Entered: 11/07/2014)

11/07/2014   Ï 16   Response in Opposition to Motion, filed by Hugh L. Caraway, Jr, Internacional Realty Inc., re 14
                    MOTION to Transfer Case filed by Mission Trust Services, LLC, Defendant Christopher C.
                    Finlay (Attachments: # 1 Affidavit of Lauren Valkenaar, # 2 Exhibit 1)(O'Donnell, Michael)
                    (Entered: 11/07/2014)

11/10/2014   Ï 17   REPORT AND RECOMMENDATIONS re 1 Motion to Quash, filed by Hugh L. Caraway, Jr.,
                    Internacional Realty Inc., 14 Motion to Transfer Case, filed by Mission Trust Services, LLC,
                    Christopher C. Finlay. Signed by Judge Xavier Rodriguez. (rg) (Entered: 11/10/2014)

11/10/2014   Ï 18   ORDERED that this case is RETURNED to the District Judge. Motions No Longer Referred:
                    MOTION for Protective Order, 1 MOTION to Quash, 14 MOTION to Transfer Case. Signed by
                    Judge Pamela A. Mathy. (rg) (Entered: 11/10/2014)

11/10/2014     Ï    Motion No Longer Referred: MOTION for Protective Order. (rg) (Entered: 11/12/2014)

11/12/2014   Ï 19   Certified Mail Receipt of 17 Report and Recommendations. (rg) (Entered: 11/13/2014)

11/13/2014   Ï 20   MOTION to Appear Pro Hac Vice by James R. Old (William Tishkoff) ( Filing fee $ 100 receipt
                    number 0542−6981098) by on behalf of Christopher C. Finlay, Mission Trust Services, LLC.
                    (Old, James) (Entered: 11/13/2014)

11/13/2014   Ï 21   MOTION to Appear Pro Hac Vice by James R. Old (Sarah Wixson) ( Filing fee $ 100 receipt
                    number 0542−6981118) by on behalf of Christopher C. Finlay, Mission Trust Services, LLC.
                    (Old, James) (Entered: 11/13/2014)

11/14/2014     Ï    Text Order GRANTING 20 Motion to Appear Pro Hac Vice. Pursuant to our Administrative
                    Policies and Procedures for Electronic Filing, the attorney hereby granted permission to practice
                    pro hac vice in this case must register for electronic filing with our court within 10 days of this
                    order. Eentered by Judge Xavier Rodriguez. (This is a text−only entry generated by the court.
                    There is no document associated with this entry.) (lel) (Entered: 11/14/2014)
             Case: 1:14-cv-09625 Document #: 27 Filed: 12/02/14 Page 9 of 9 PageID #:448
11/14/2014     Ï    Text Order GRANTING 21 Motion to Appear Pro Hac Vice. Pursuant to our Administrative
                    Policies and Procedures for Electronic Filing, the attorney hereby granted permission to practice
                    pro hac vice in this case must register for electronic filing with our court within 10 days of this
                    order. entered by Judge Xavier Rodriguez. (This is a text−only entry generated by the court.
                    There is no document associated with this entry.) (lel) (Entered: 11/14/2014)

11/20/2014   Ï 22   Certified mail acknowledgment receipt for magistrate report and recommendations re 17 Report
                    and Recommendations as to Christopher C. Finlay, Michael T. Hosmer, Mission Trust Services,
                    LLC, The Corporation Trust Company. (rf) (Entered: 11/20/2014)

11/21/2014   Ï 23   Certified mail acknowledgment receipt for magistrate report and recommendations re 17 Report
                    and Recommendations as to Christopher C. Finlay, Michael T. Hosmer, Mission Trust Services,
                    LLC, The Corporation Trust Company. (rf) (Entered: 11/21/2014)

11/24/2014   Ï 24   OBJECTION to 17 Report and Recommendations by Hugh L. Caraway, Jr, Internacional Realty
                    Inc... (O'Donnell, Michael) (Entered: 11/24/2014)

11/24/2014   Ï 25   Certified mail acknowledgment receipt for magistrate report and recommendations re 17 Report
                    and Recommendations as to Christopher C. Finlay, Michael T. Hosmer, Mission Trust Services,
                    LLC, The Corporation Trust Company. (rf) (Entered: 11/25/2014)

12/01/2014   Ï 26   ORDER ADOPTING REPORT AND RECOMMENDATIONS for 17 Report and
                    Recommendations; the motion to transfer (docket no. 14) is GRANTED and it is ORDERED
                    that:Non−party Hugh L. Caraway, Jr. and Internacional Realty Incs Motion to Quash Subpoenas
                    and Motion for Protective Order and all matters in this case are TRANSFERRED to the United
                    States District Court for the Northern District of Illinois, Eastern Division, for consideration in
                    Cause No. 13−CV−0770, Scott A. Elliott, Ming−Hang Ho, and The Roxana Cupples Revocable
                    Inter Vivos Trust v. Mission Trust Services, LLC, Christopher C. Finlay, The Corporation Trust
                    Company, and Michael T. Hosmer; Mission Parties Motion to Transfer is DENIED. Signed by
                    Judge Xavier Rodriguez.(rg) (Entered: 12/01/2014)
